Case 2:04-cr-20396-.]P|\/| Document 35 Filed 08/31/05 Page 1 of 3 Page|D 52

IN THE UNITED STATES DISTRICT COUR'I`

 

FoR THE WESTERN DISTRICT oF TENNESSEE F"£D B"’ ej_ D_c.
WESTERN DrvrsloN
05 A ,
Ut'.` 3 l PH 32 56
CU:_ :<HUt.».b g PGULD
UNITED sTATEs oF AMERICA ) gill/bg ,t; V"`P$OURI
) t ." P"" l
Plaintir`f, )
)
vs ) CAsE No. 2104CR20396-M1
)
KerrHoN RoBrNsoN )
)
Defendant. )
)

 

ORDER TO SURRENDER

 

The defendant, Keithon Robinson, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS
HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Yazoo City, P.O.
Box 5050, Yazoo City, MS 39194 by 2:00 p.m. on MONDAY, SEPTEMBER 19, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Ofi`lce of the Clerk, Federal Office Building, 167 N. Main Street, Roorn 242,
M.ernphis, Tennessee 381()3 to acknowledge by signature receipt of a copy of this Order and that the
defendant will report as ordered to the facility named above.

ENTEREI)thiSthe 3| day OfAuguSr,zoos.

nn Oll.

J N PHIPPS MCCALLA
NI'I`ED STATES DISTRICT JUDGE

 

ninth

‘ - ‘ le
mr e e ita-ied on the docket heat \n eum;,.l
UC d 1\\. t f
Tms 0 2(b) t'-"F\CrF en if 2 Qj

W`tth Ru\e 55 and/or 3 h

Case 2:04-cr-20396-.]P|\/| Document 35 Filed 08/31/05 Page 2 of 3 Page|D 53

ACKNOWLEDGMENT

l agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20396 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

Leslie I. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

l\/lemphis7 TN 38103

Joseph C. l\/lurphy

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

